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ACAA - HARASSMENT AND SEXUAL HARASSMENT OF
STUDENTS
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and-sexual-harassment-of-students


Harassment of students because of race, color, sex, sexual orientation, religion, ancestry or national origin,
or disability is prohibited. Such conduct is a violation of Board policy and may constitute illegal
discrimination under state and federal laws.

Harassment

Harassment includes but is not limited to verbal abuse based on race, color, sex, sexual orientation, religion,
ancestry or national origin, or disability. Harassment that rises to the level of physical assault, battery and/or
a buse and bullying behavior are also addressed in the Board policy JICIA — Weapons, Violence & School
Safttty

Sexual Harassment

Sexual harassment includes but is not limited to unwelcome sexual advances, requests for sexual favors or
pressure to engage in sexual activity, physical contact of a sexual i lature, gestures, comments, or other
physical, written or verbal conduct that is gel ioar-based wait interrere with a student's education. School
employees, fellow students, volunteers and visitors to the school, and other persons with whom students
may interact in order to pursue school activities are required to refrain from such conduct.

Harassment/sexual harassment of students by school employees is considered grounds for disciplinary
action, up to and including discharge. Harassrnent/sexual harassment of students by other students is
considered grounds for disciplinary action, up to and including expulsion. The Superintendent will determine
appropriate sanctions for harassment of students by persons other than school employees and students.

The Superintendent or the employee designated as the Title IX Coordinator wil l investigate complaints of
harassment in accordance with the Student Harassment Complaint Procedure. School employees,
students, and parents shall be informed of this policy/procedure through handbooks and/or other means
selected by the school administration.

Legal Reference:         Title IX of the Education Amendments of 1972(20 USC § 1681 , et seq.)
                        Title VI of the Civil Rights Act of 1964 (42 USC § 2000(d))
                        5 MRSA §§4602; 4681 et seq.
                        20-A MRSA § 6553

Cross Reference:

ADOPTED: September 14, 1999
REVISED: May 13, 2003
REVISED: October 12, 2004
R EVIEWED: August 2006




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R EVISED: February 12. 2008
R EVISED: August 28, 2012




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